Case 2:24-cv-07660-SPG-JPR   Document 16-2   Filed 09/09/24   Page 1 of 69 Page
                                 ID #:2046




                                                                        EX 19
                                                                         1802
Case 2:24-cv-07660-SPG-JPR   Document 16-2   Filed 09/09/24   Page 2 of 69 Page
                                 ID #:2047




                                                                        EX 19
                                                                         1803
Case 2:24-cv-07660-SPG-JPR   Document 16-2   Filed 09/09/24   Page 3 of 69 Page
                                 ID #:2048




                                                                        EX 19
                                                                         1804
      Case 2:24-cv-07660-SPG-JPR                   Document 16-2           Filed 09/09/24         Page 4 of 69 Page
                                                       ID #:2049

                                                                                    Harlo Henfrey                   @gmail.com>



Notification of Restricted Products Removal
1 message

Amazon Services <seller-info@amazon.com>                                                            Thu, Jun 8, 2023 at 12:06 AM
Reply-To: Amazon Services <seller-info@amazon.com>
To:           @gmail.com




                                                       Hello from Amazon,

             We are writing to let you know that the following detail pages have been removed from our catalog:

              ASIN: B0BX69784K, SKU: HH-dish rack01, Title: Harlo Henfrey Collapsible Bamboo Dish Drying
                Rack with Utensil Holder - Convenient Kitchen Storage Solution for Dish Drainer and Messy
                                                       Countertops

             This product has been identified as a pesticide product, pesticide device, or a product that contains
            pesticide claims. To be considered for reinstatement, please provide evidence of an EPA Registration
               number and/or EPA Establishment number or a certification that the product is exempt from EPA
             regulations. You will need to provide this information in the Pesticide Marking attribute for the listing.
                             Instructions for completing this attribute are available on Seller Central at
               https://sellercentral.amazon.com/gp/help/GLX9EJX844SNJX7J. For vendors, please see Vendor
                            Central at https://vendorcentral.amazon.com/hz/vendor/members/support/
               help/node/GJJS6MBG5JPHSMFF. If claims are the sole reason for your product being removed,
            please remove the prohibited pesticide claims. Some examples of pesticide claims include removing,
                 inhibiting, destroying, repelling, trapping, eliminating or mitigating the growth of odor-causing
            bacteria, mold, mildew, pests and/or viruses, and other similar claims. If all claims are removed from
              the Product Detail Page, Images and Labeling, you may relist your product through Seller Central.
                    For more information, see our Pesticides and Pesticide Devices Seller Help page here:
                https://sellercentral.amazon.com/gp/help/external/202115120. Please note that any listings that
                   continue to make any pesticide claims from any source will need to meet Amazon’s listing
               requirements for pesticides and pesticide devices. For more information, see our Pesticides and
                               Pesticide Devices Seller Help page here: https://sellercentral.amazon.
                                                  com/gp/help/external/202115120.

                                                     Why is this happening?

                We took this action because this product is not permitted for sale on Amazon.com. It is your
               obligation to make sure the products you offer comply with all applicable laws, regulations, and
                                                     Amazon's policies.

                                                What actions do I need to take?

             - If any of the above ASINs are Fulfillment by Amazon (FBA) offers, please initiate a removal request
            for the ASIN(s) referenced above to have your inventory sent to a location of your choosing. If you fail
               to initiate a removal request within 30 days of this notification, we may dispose of it in accordance
             with the Amazon Services Business Solutions Agreement and FBA policies. For more information on
                    our FBA policies, please review https://sellercentral.amazon.com/gp/help/201030350 and
                                       https://sellercentral.amazon.com/gp/help/200140860.

            - Within 48 hours of this warning, please review your listings and close, delete, or archive any listings
                 that do not comply with all applicable laws, regulations, and Amazon's policies, including the
                                                    product(s) listed above.

                                                                                                                  EX 19
                                                                                                                   1805
Case 2:24-cv-07660-SPG-JPR   Document 16-2   Filed 09/09/24   Page 5 of 69 Page
                                 ID #:2050




                                                                        EX 19
                                                                         1806
       Case 2:24-cv-07660-SPG-JPR              Document 16-2        Filed 09/09/24       Page 6 of 69 Page
                                                   ID #:2051

                                                                             Harlo Henfrey                @gmail.com>



Notice: Policy Warning
3 messages

Amazon.com <no-reply-notice-outreach@amazon.com>                                            Tue, Aug 8, 2023 at 12:59 AM
Reply-To: "Amazon Seller Central Notifications (Do Not Reply)" <no-reply-notice-outreach@amazon.com>
To:            @gmail.com




             Hello,

             We are contacting you because we received a report of trademark infringement on
             the product detail page associated with one or more of your listings. Sellers on
             Amazon.com are not allowed to use trademarked terms in a way that might lead
             their product to be confused with a different trademarked product.

             Please modify your product and product detail page to ensure they do not infringe
             on the trademark of the rights owner listed below. Once this is done, email us at
             notice-dispute@amazon.com.

             Examples of unacceptable terms:
             -- "AmazonBasics speaker charging cable." AmazonBasics is trademarked by Amazon.
             -- “Wireless Amazon speaker for laptop.” Amazon is trademarked by Amazon.
             -- “Cable similar to Pinzon.” Pinzon is trademarked by Amazon, and we prohibit
             the use of “similar to.”

             Examples of acceptable terms:
             -- "Cable for charging AmazonBasics speaker." The cable is not created or sold by
             Amazon.
             -- “Wireless speaker for laptop, compatible with AmazonBasics.” The speaker is
             not created by Amazon.
             -- “Basic cable works with Pinzon.” The cable is not sold or created by Pinzon.

             If you do not provide the information within 90 days, you will receive a request
             to remove the inventory associated with these listing per our removal policy
             (https://sellercentral.amazon.com/gp/help/202000820). Failure to address this request can
             lead to destruction of your inventory.

             If you believe your listing was removed in error, you may email notice-
             dispute@amazon.com with supporting documentation (e.g., letter of authorization,
             licensing agreement).

             We consider intellectual property infringement a serious matter. If we receive
             more complaints about your listings, we may not allow you to sell on Amazon.com.

             We may restore this content if the rights owner who reported this infringement
             contacts notice-dispute@amazon.com to retract the claim. The rights owner contact
             information can be found below.

             -- A
             -- 3214148755@qq.com

             Learn more about this policy in Seller Central Help (https://sellercentral.amazon.
             com/gp/help/external/201361070).
                                                                                                       EX 19
                                                                                                        1807
Case 2:24-cv-07660-SPG-JPR   Document 16-2   Filed 09/09/24   Page 7 of 69 Page
                                 ID #:2052




                                                                        EX 19
                                                                         1808
     Case 2:24-cv-07660-SPG-JPR            Document 16-2         Filed 09/09/24      Page 8 of 69 Page
                                               ID #:2053

-Chris Walden

Begin forwarded message:


      From: "Amazon.com" <no-reply-notice-outreach@amazon.com>
      Date: August 8, 2023 at 3:59:14 AM AST
      To:             @gmail.com
      Subject: Notice: Policy Warning
      Reply-To: "Amazon Seller Central Notifications (Do Not Reply)" <no-reply-notice-outreach@amazon.com>



      [Quoted text hidden]




                                                                                                   EX 19
                                                                                                    1809
      Case 2:24-cv-07660-SPG-JPR                    Document 16-2           Filed 09/09/24         Page 9 of 69 Page
                                                        ID #:2054

                                                                                     Harlo Henfrey <                 @gmail.com>



Notification of Restricted Products Removal
4 messages

Amazon Services <seller-info@amazon.com>                                                            Sun, Dec 17, 2023 at 10:06 AM
Reply-To: Amazon Services <seller-info@amazon.com>
To:           @gmail.com




                                                        Hello from Amazon,

              We are writing to let you know that the following detail pages have been removed from our catalog:

             ASIN: B0BX69784K, SKU: HH-dish rack01, Title: Collapsible Bamboo Dish Drying Rack with Utensil
                   Holder - Convenient Kitchen Storage Solution for Dish Drainer and Messy Countertops

              This product has been identified as a pesticide product, pesticide device, or a product that contains
             pesticide claims. To be considered for reinstatement, please provide evidence of an EPA Registration
                number and/or EPA Establishment number or a certification that the product is exempt from EPA
              regulations. You will need to provide this information in the Pesticide Marking attribute for the listing.
                              Instructions for completing this attribute are available on Seller Central at
                https://sellercentral.amazon.com/gp/help/GLX9EJX844SNJX7J. For vendors, please see Vendor
                             Central at https://vendorcentral.amazon.com/hz/vendor/members/support/
                help/node/GJJS6MBG5JPHSMFF. If claims are the sole reason for your product being removed,
             please remove the prohibited pesticide claims. Some examples of pesticide claims include removing,
                  inhibiting, destroying, repelling, trapping, eliminating or mitigating the growth of odor-causing
             bacteria, mold, mildew, pests and/or viruses, and other similar claims. If all claims are removed from
               the Product Detail Page, Images and Labeling, you may relist your product through Seller Central.
                     For more information, see our Pesticides and Pesticide Devices Seller Help page here:
                 https://sellercentral.amazon.com/gp/help/external/202115120. Please note that any listings that
                    continue to make any pesticide claims from any source will need to meet Amazon’s listing
                requirements for pesticides and pesticide devices. For more information, see our Pesticides and
                                Pesticide Devices Seller Help page here: https://sellercentral.amazon.
                                                   com/gp/help/external/202115120.

                                                      Why is this happening?

                 We took this action because this product is not permitted for sale on Amazon.com. It is your
                obligation to make sure the products you offer comply with all applicable laws, regulations, and
                                                      Amazon's policies.

                                                 What actions do I need to take?

              - If any of the above ASINs are Fulfillment by Amazon (FBA) offers, please initiate a removal request
             for the ASIN(s) referenced above to have your inventory sent to a location of your choosing. If you fail
                to initiate a removal request within 30 days of this notification, we may dispose of it in accordance
              with the Amazon Services Business Solutions Agreement and FBA policies. For more information on
                     our FBA policies, please review https://sellercentral.amazon.com/gp/help/201030350 and
                                        https://sellercentral.amazon.com/gp/help/200140860.

             - Within 48 hours of this warning, please review your listings and close, delete, or archive any listings
                  that do not comply with all applicable laws, regulations, and Amazon's policies, including the
                                                     product(s) listed above.



                                                                                                                   EX 19
                                                                                                                    1810
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 10 of 69 Page
                                  ID #:2055




                                                                      EX 19
                                                                       1811
       Case 2:24-cv-07660-SPG-JPR                Document 16-2 Filed 09/09/24   Page 11 of 69 Page
                                                      ID #:2056
 URGENT

 PLEASE HANDLE THIS IMMEDIATELY
 [Quoted text hidden]



Support 2 <support.2@ascendecom.com>                                            Mon, Dec 18, 2023 at 11:30 AM
To: Harlo Henfrey <        @gmail.com>

 Hi Harlo,

 Thank you for your email. This is forwarded to the store team.

 Regards,


                        Beverly
                        Ascend Ecom



                           www.ascendecom.com       support@ascendecom.com
                           2219 Main St. Santa Monica, CA




 [Quoted text hidden]
 --
 Best Wishes,
 Account Management Team
 www.ascendcapventures.com | support.2@ascendecom.com

Harlo Henfrey <            @gmail.com>                                          Mon, Dec 18, 2023 at 12:08 PM
To: Support 2 <support.2@ascendecom.com>

 Please let us know as soon as it is resolved
 [Quoted text hidden]




                                                                                             EX 19
                                                                                              1812
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 12 of 69 Page
                                  ID #:2057




                      Attachment J




                                                                      EX 19
                                                                       1813
     Case 2:24-cv-07660-SPG-JPR                 Document 16-2 Filed 09/09/24                 Page 13 of 69 Page
                                                     ID #:2058

                                                                                 Harlo Henfrey <                @gmail.com>



Missing Eraser Inventory Reconciliation
3 messages

Harlo Henfrey <            @gmail.com>                                        Wed, Mar 22, 2023 at 12:32 PM
To: Ascend Support <support@ascendecom.com>, Sean Ashby <       @gmail.com>, "roland@ascendecom.com"
<roland@ascendecom.com>, "skye@ascendecom.com" <skye@ascendecom.com>, "michael@ascendecom.com"
<michael@ascendecom.com>

 Order 75981581 placed 6/17/22 included 200 qty of Paper Mate Sanford Arrowhead Eraser Cap - 144/box

 8 qty shipped from Webstaurantstore.com warehouse via FedEx tracking 274479362719 - proof of delivery attached

 192 qty shipped from manufacturer via 8 boxes containing 24 qty each via FedEx tracking:
 9613422037331788803298
 9613422037331788803274
 9613422037331788803236
 9613422037331788803281
 9613422037331788803267
 9613422037331788803243
 9613422037331788803229
 9613422037331788803250

 I am attaching a proof of delivery for each shipment. All received by the same individual at the same time of day. I am
 waiting on a more detailed proof of delivery from a webstaurantstore.com representative and should have that by the end
 of the week which will show the delivery address as 1939 N Great Southwest Parkway which we all understand as the
 first warehouse in Texas.

 If I am missing any evidence that all 200 items were delivered timely to the Dallas, Texas warehouse please let me know
 and I will do my very best to obtain that information as fast as I possibly can so we can get this issue resolved once and
 for all.




  3 attachments




                          POD 8 units - fedex tracking 274479362719.png
                          110K




     8 shipment POD - waiting on detail from webstaurant.pdf
     136K
     Order 75981581 detail.pdf
     356K


Harlo Henfrey <            @gmail.com>                                                        Mon, Apr 10, 2023 at 2:39 PM
To: Ascend Support <support@ascendecom.com>, Sean Ashby <                     @gmail.com>, "roland@ascendecom.com"
<roland@ascendecom.com>, "skye@ascendecom.com" <skye@a                        com>, "michael@ascendecom.com"
<michael@ascendecom.com>

                                                                                                             EX 19
                                                                                                              1814
       Case 2:24-cv-07660-SPG-JPR                Document 16-2 Filed 09/09/24                 Page 14 of 69 Page
                                                      ID #:2059
 Can we get an update regarding your investigation into this issue?
 [Quoted te t hidden]



Ascend Support <support@ascendecom.com>                                                           Tue, Apr 11, 2023 at 9:04 AM
To: Harlo Henfrey <       @gmail.com>

 Hello Chris,

 Good day!

 Thanks for your email. Upon checking, our team member Tetz has already communicated with you on Slack on what will
 be the course of action for these missing inventories. Please check your Slack channel for updates.

 I will also continue reminding the team to prioritize this matter. The last update I received on this is that the team will
 purchase inventories with the same amount of missing inventories and list it on your ASC to sell. Updates will be posted
 on your Slack channel as well.

 Thank you for your patience.

 Regards,


                         Krizzia Sanchez
                         Client Relations Associate, Ascend Ecom


                           www.ascendecom.com       support@ascendecom.com
                           2219 Main St. Santa Monica, CA




 [Quoted text hidden]




                                                                                                              EX 19
                                                                                                               1815
     Case 2:24-cv-07660-SPG-JPR        Document 16-2 Filed 09/09/24    Page 15 of 69 Page
                                            ID #:2060

                                                            Chris Walden                  gmail.com>



(no subject)
3 messages

Malaya Williams <malaya@ascendecom.com>                                    Thu, Sep 8, 2022 at 9:11 AM
To: "             gmail.com" <          @gmail.com>




                                                                                     EX 19
                                                                                      1816
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 16 of 69 Page
                                  ID #:2061




                                                                      EX 19
                                                                       1817
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 17 of 69 Page
                                  ID #:2062




                                                                      EX 19
                                                                       1818
     Case 2:24-cv-07660-SPG-JPR                Document 16-2 Filed 09/09/24   Page 18 of 69 Page
                                                    ID #:2063




Chris Walden <               @gmail.com>                                        Thu, Sep 8, 2022 at 4:09 PM
To: Sean Ashby                gmail.com>

 wow, thank you for confirming 1 box of the 200 we ordered exists...

 ---------- Forwarded message ---------
 From: Malaya Williams <malaya@ascendecom.com>
 Date: Thu, Sep 8, 2022 at 9:11 AM
 Subject:
 To:                @gmail.com <        @gmail.com>




                                                                                          EX 19
                                                                                           1819
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 19 of 69 Page
                                  ID #:2064




                                                                      EX 19
                                                                       1820
      Case 2:24-cv-07660-SPG-JPR               Document 16-2 Filed 09/09/24             Page 20 of 69 Page
                                                    ID #:2065




 --
 Chris Walden


Sean Ashby <              @gmail.com>                                                     Thu, Sep 8, 2022 at 4:21 PM
To: Chris Walden <c          @gmail.com>

 Haha great

 Sent from my iPhone


        On Sep 8, 2022, at 4:10 PM, Chris Walden <                 @gmail.com> wrote:



        wow, thank you for confirming 1 box of the 200 we ordered exists...

        ---------- Forwarded message ---------
        From: Malaya Williams <malaya@ascendecom.com>
        Date: Thu, Sep 8, 2022 at 9:11 AM
        Subject:
        To:                @gmail.com <        @gmail.com>




                                                                                                    EX 19
                                                                                                     1821
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 21 of 69 Page
                                  ID #:2066




                                                                      EX 19
                                                                       1822
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 22 of 69 Page
                                  ID #:2067




 --
 Chris Walden




                                                                      EX 19
                                                                       1823
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 23 of 69 Page
                                  ID #:2068




                      Attachment K




                                                                      EX 19
                                                                       1824
      Case 2:24-cv-07660-SPG-JPR                  Document 16-2 Filed 09/09/24                   Page 24 of 69 Page
                                                       ID #:2069

                                                                                    Harlo Henfrey <            @gmail.com>



Sales Tax reconciliation
4 messages

Harlo Henfrey <            @gmail.com>                                            Wed, Mar 22, 2023 at 2:05 PM
To: Ascend Support <support@ascendecom.com>, roland@ascendecom.com, Raymond Villanueva
<raymond@ascendecom.com>, skye@ascendecom.com, michael@ascendecom.com, Sean Ashby
<              gmail.com>

 When orders first started with webstaurantstore.com in early June I noticed we were being charges sales tax on our
 invoices. I brought this to the attention of the team immediately. On June 13, a message from Kelvin on Ryver says "Your
 manager informed me that the reason why you are being charged tax even though you have the tax certificate is because
 the supplier does not allow tax exemption. Thanks."
 I then went to the supplier's website and there was a space to upload tax exempt certificates in our profile. We went back
 and forth with CRT team members on Ryver as to why the certificate was not uploaded. Around July 8th, someone from
 Ascend was able to upload it however webstaurantstore.com did not accept the digital signature. I was informed I could
 correct the issue through the link in the email I was sent, however I was never provided a copy of the form that was
 submitted. Fast forward to July 27th and we received another invoice in which sales tax was paid again. Kelvin offered to
 help me out, however I was able to sign the form with a pen and upload a pdf and have it accepted. Kelvin also informed
 me he would help in in obtaining refunds for prior purchases in which we paid sales tax. I ended up having to do this on
 my own. Since some of these orders were over 30 days old, webstaurantstore.com would not refund us for $212.09 which
 is the amount we have been requested be refunded due to the lack of proper store management and purchasing by
 Ascend team members. Raymond Villanueva agreed we would be credited this amount on our first invoice which did not
 happen. Hannah Prem also agreed this amount should be credited to us as well. Below is my reconciliation of all sales tax
 activity with webstaurantstore.com.




 If you require further information, please let me know and I will obtain it as fast as I possibly can.




Ascend Support <support@ascendecom.com>                                        Wed, Mar 22, 2023 at 2:41 PM
To: Harlo Henfrey          @gmail.com>
Cc: roland@ascendecom.com, Raymond Villanueva <raymond@ascendecom.com>, skye@ascendecom.com,
michael@ascendecom.com, Sean Ashby <             @gmail.com>

 Hello Chris,

 Thank you for your email.

 This is acknowledged and currently under review. Please allow us some time to do the audit for this as well as for the
 missing inventory. We will give you an update on this once the audit is done.

                                                                                                            EX 19
                                                                                                             1825
       Case 2:24-cv-07660-SPG-JPR             Document 16-2 Filed 09/09/24                Page 25 of 69 Page
 We are hoping for your kind patience and apologies for ID
                                                         any#:2070
                                                             inconvenience caused.

 Thank you.

 Regards,


                        Krizzia Sanchez
                        Client Relations Associate, Ascend Ecom


                          www.ascendecom.com       support@ascendecom.com
                          2219 Main St. Santa Monica, CA




 [Quoted text hidden]



Harlo Henfrey <            @gmail.com>                                          Mon, Apr 10, 2023 at 2:39 PM
To: Ascend Support <support@ascendecom.com>
Cc: roland@ascendecom.com, Raymond Villanueva <raymond@ascendecom.com>, skye@ascendecom.com,
michael@ascendecom.com, Sean Ashby <             @gmail.com>

 Can we get an update regarding this investigation?
 [Quoted te t hidden]



Ascend Support <support@ascendecom.com>                                                      Wed, Apr 12, 2023 at 3:18 PM
To: Harlo Henfrey <         gmail.com>

 Hello Chris,

 Good day!

 This concern has already been forwarded to the team and awaiting their response. I will give you an update once receive
 feedback from them.

 Thank you.

 Regards,


                        Krizzia Sanchez
                        Client Relations Associate, Ascend Ecom


                          www.ascendecom.com       support@ascendecom.com
                          2219 Main St. Santa Monica, CA




                                                                                                          EX 19
                                                                                                           1826
      Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 26 of 69 Page
                                        ID #:2071




[Quoted text hidden]




                                                                            EX 19
                                                                             1827
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 27 of 69 Page
                                  ID #:2072




                      Attachment L




                                                                      EX 19
                                                                       1828
      Case 2:24-cv-07660-SPG-JPR                 Document 16-2 Filed 09/09/24                    Page 28 of 69 Page
                                                      ID #:2073

                                                                                   Harlo Henfrey                    @gmail.com>



Action required: Your listing of B07N1CFDB1 has been suppressed due to a high
rate of negative customer experiences
1 message

Amazon Seller Central Notifications(Do Not Reply) <donotreply@amazon.com>                             Thu, Jul 14, 2022 at 12:13 PM
Reply-To: "Amazon Seller Central Notifications (Do Not Reply)" <donotreply@amazon.com>
To:            @gmail.com




                                                Hello from Amazon Services,

            Your offer of B07N1CFDB1 has been suppressed because the negative customer experience (NCX)
               rate on recent orders is considerably higher than for similar products. The NCX rate takes into
             account returns, refunds, customer service requests, and negative product reviews. Visit the Seller
              Central Help Center to learn more about NCX notifications or about resolving CX Health issues.

                            Product name: FIFO Squeeze Bottle Refillable 16 oz Blue Tip (Blue)
                                                 ASIN: B07N1CFDB1
                                                MSKU: 70-RVZ5-UROK
                                                FNSKU: B07N1CFDB1

              The suppression of your offer does not affect your seller account. The action and this alert are to
            prevent further negative customer experiences and give you the opportunity to resolve any product or
                                                       listing issues.

            For details, including the NCX rate and recent customer comments, review this listing on the Voice of
            the Customer dashboard. After you have addressed any customer issues, you can relist your product
                               immediately on Voice of the Customer without contacting Amazon.

            To see NCX rates, Customer Experience (CX) Health ratings, and customer comments for your other
                                   listings, visit the Voice of the Customer home page.

                                              Thank you for selling on Amazon.
                                                The Amazon Services team


                                                   Was this email helpful?

                                         If you have any questions visit: Seller Central


                                To change your email preferences visit: Notification Preferences


                                Copyright 2022 Amazon, Inc, or its affiliates. All rights reserved.
                               Amazon.com, 410 Terry Avenue North, Seattle, WA 98109-5210




                                                                                                                  EX 19
                                                                                                                   1829
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 29 of 69 Page
                                  ID #:2074




                                                                      EX 19
                                                                       1830
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 30 of 69 Page
                                  ID #:2075




                      Attachment M




                                                                      EX 19
                                                                       1831
      Case 2:24-cv-07660-SPG-JPR                Document 16-2 Filed 09/09/24                 Page 31 of 69 Page
                                                     ID #:2076

                                                                               Chris Walden                     @gmail.com>



ZOOM CALL Harlo Henfrey, LLC / Chris Walden
8 messages

Roland Aguilar <roland@ascendecom.com>                                                        Mon, Feb 27, 2023 at 12:23 PM
To:             @gmail.com, Michael Garcia <Michael@ascendecom.com>

 Hello Chris .
 Thank you for reaching out to us regarding your recent experience. We are sorry to hear that you are not satisfied with the
 service you received, and we want to do everything we can to help rebuild your trust in our company.

 We recognize that when your store doesn't perform well, we don't profit either, and we understand how frustrating that can
 be. That's why we are committed to doing everything we can to support you and help you succeed.

 In the meantime, we would like to ask you what we can do specifically to help you feel more confident in our partnership
 moving forward. We value your feedback and want to ensure that we are meeting your needs in the best way possible.
 The screen shot attached is what I got from CLICKUP, please add any more information , if we had missed anything in our
 meeting . This has been forward as well to my management team . Micheal is our GM.

 Thank you
 Roland



                                           Chris Walden.jpg
                                           123K




Chris Walden                 @gmail.com>                                                        Mon, Feb 27, 2023 at 1:19 PM
To: Roland Aguilar <roland@ascendecom.com>
Cc: Michael Garcia <Michael@ascendecom.com>, Sean Ashby <                     @gmail.com>, "skye@ascendecom.com"
<skye@ascendecom.com>

 Hi Roland,

 Thank you and Skye and Marlon for joining the meeting today and filling us in on the changes with Ascend along with
 some business updates. Sounds like you will have some time this week to be able to devote to Harlo Henfrey success
 and we appreciate that.

 To follow up on the reimbursement, Skye mentioned it can be accomplished through Zelle. Please let me know who will
 need my Zelle information to process this reimbursement. To reiterate, some of these items for reimbursement stem from
 June/July 2022 (8 months ago) and have had a negative affect on our working capital since then.

 Also, thank you for following up with Mark Munsi regarding the numerous e-mails I have sent in regards to our December
 FBM invoice and overcharge. I would like to see the excel sheet that supports the correct amount we are to be billed.

 Like I had mentioned, our payment from Amazon last week was negative $40 - they charged my credit card. Our store is
 literally costing us money at the moment and this is not the first time our 'payment' from amazon was negative.

 Another area of concern, to add onto the attachment, is Ungating. Our initial investment included $7,000 to be put towards
 ungating our store. We went through the initial process with Vinny (former employee) and we have seen no results. What
 is going to be done about that? What brands are we selling that are ungated?

 At the end of the day, we want some Transparency, one of the 3 pillars Ascend preaches - it is in your logo afterall. Good,
 bad, indifferent, we just want to know what is actually going on and not that someone is working on it. Because that is all
 we have been told for 8 months.



                                                                                                             EX 19
                                                                                                              1832
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 32 of 69 Page
                                  ID #:2077




                                                                      EX 19
                                                                       1833
       Case 2:24-cv-07660-SPG-JPR                 Document 16-2 Filed 09/09/24               Page 33 of 69 Page
                                                       ID #:2078




Raymond Villanueva <raymond@ascendecom.com>                                      Tue, Feb 28, 2023 at 11:53 AM
To: Michael Garcia <michael@ascendecom.com>
Cc: Sean Ashby              @gmail.com>, Chris Walden           @gmail.com>, Roland Aguilar
<roland@ascendecom.com>, skye@ascendecom.com, Leadership <leadership@ascendecom.com>

 Hi Chris,

 Since we already have a WhatsApp group chat, I will start adding the rest of the management team on it so we can
 streamline the communication right away. We'll then proceed with the assessment of the store.

 Please let us know if you have any questions.

 Regards,

                          Raymond Villanueva
                          Chief VIP Officer, Ascend Ecom


                            www.ascendecom.com       support@ascendecom.com
                            2219 Main St. Santa Monica, CA




 [Quoted text hidden]



Chris Walden                @gmail.com>                                           Tue, Feb 28, 2023 at 2:52 PM
To: Raymond Villanueva <raymond@ascendecom.com>
Cc: Michael Garcia <michael@ascendecom.com>, Sean Ashby            @gmail.com>, Roland Aguilar
<roland@ascendecom.com>, skye@ascendecom.com, Leadership <leadership@ascendecom.com>

 Thank you all for addressing our concerns.
 [Quoted text hidden]
 --
 Chris Walden


Mail Delivery Subsystem <mailer-daemon@googlemail.com>                                          Tue, Feb 28, 2023 at 2:53 PM
To:              @gmail.com

 Hello                  @gmail.com,

 We're writing to let you know that the group you tried to contact (leadership) may not exist, or you may not have
 permission to post messages to the group. A few more details on why you weren't able to post:

  * You might have spelled or formatted the group name incorrectly.
                                                                                                             EX 19
                                                                                                              1834
     Case 2:24-cv-07660-SPG-JPR            Document 16-2 Filed 09/09/24                     Page 34 of 69 Page
                                                   ID #:2079
* The owner of the group may have removed this group.
* You may need to join the group before receiving permission to post.
* This group may not be open to posting.

If you have questions related to this or any other Google Group, visit the Help Center at https://support.google.com/a/
ascendecom.com/bin/topic.py?topic=25838.

Thanks,

ascendecom.com admins



----- Original message -----

X-Received: by 2002:a5b:105:0:b0:a99:de9d:d518 with SMTP id 5-20020a5b0105000000b00a99de9dd5
18mr3486055ybx.11.1677621188901;
      Tue, 28 Feb 2023 13:53:08 -0800 (PST)
ARC-Seal: i=1; a=rsa-sha256; t=1677621188; cv=none;
      d=google.com; s=arc-20160816;
      b=jXJG8rSb3VZDm9X5k67pMZevgd/gZkbeIJ/bQWAUbBObzHTQqwCPN8Wf8TtheSwC/x
       oHDgfOqO/m29skvBOMn5Y8ap2uLHZcpz60dd+LD8kfSxxeGp3jkPGxmu+yns8JC4mtnY
       DT4UmMsR0CCqglfW5sz9pfGyU60EpEpco4efnlngMunQPdLvp3GdbkhuMAEtaXRDqi0d
       qqc8dcm2zvP/Sc2CbZKZcIsRAzGG4p/8PvfHL0YCYBSWUJG76cBGx7tKWDQ2gZ3P7nzS
       iHPOAZhW/R4h0rUPnE9AMHDYwX2ns5mdHjw7hfGH5ikvz5F9VWyEpNpSagHNzn7FIzyo
       jAjg==
ARC-Message-Signature: i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816;
      h=cc:to:subject:message-id:date:from:in-reply-to:references
       :mime-version:dkim-signature;
      bh=gNAnMSi/CPpKhab7OXOPUt4RbHkLxo80ft/GCRw8Img=;
      b=Z0Rf2T1BK8tENacGTuKV9YaJB3UxzbJxcqJZe2+YFh06gNttfWl0XXFT2AzJMil9cE
       Wq7+vGjIKEbojGfwppL/IKaGXXmsvifNkRgUkFPbPs41+gfQPMuORvashK0s3+SEzrU9
       IeKLtmptVaD9sklgbRorFA9wILkW9b7t5XzqQRDArSkeBwIFYif0oR9rPX29F8mhPZkj
       Bq9WChv5UkrAPvuvPQLLHmR7ayVaXMZVu2EdAfKX9Jw0kUq/jEJnzBZY1JMigI7yWi0X
       uZ5TorINSQWK9DcMzGI1jt5kaLSqsxAKsqiN3244mFetBZSFJZnUhaaebwxtIDORyZxU
       btWQ==
ARC-Authentication-Results: i=1; mx.google.com;
     dkim=pass header.i=@gmail.com header.s=20210112 header.b=KIBi4ZBn;
     spf=pass (google.com: domain of                    gmail.com designates 209.85.220.41 as permitted sender)
smtp.mailfrom=                 @gmail.com;
     dmarc=pass (p=NONE sp=QUARANTINE dis=NONE) header.from=gmail.com
Return-Path: <                @gmail.com>
Received: from mail-sor-f41.google.com (mail-sor-f41.google.com. [209.85.220.41])
      by mx.google.com with SMTPS id k17-20020a25e811000000b006d00a1baca7sor3331902ybd.66.2023.02.28.
13.53.08
      (Google Transport Security);
      Tue, 28 Feb 2023 13:53:08 -0800 (PST)
Received-SPF: pass (google.com: domain of                    @gmail.com designates 209.85.220.41 as permitted sender)
client-ip=209.85.220.41;
Authentication-Results: mx.google.com;
     dkim=pass header.i=@gmail.com header.s=20210112 header.b=KIBi4ZBn;
     spf=pass (google.com: domain of                  @gmail.com designates 209.85.220.41 as permitted sender)
smtp.mailfrom=                 @gmail.com;
     dmarc=pass (p=NONE sp=QUARANTINE dis=NONE) header.from=gmail.com
DKIM-Signature: v=1; a=rsa-sha256; c=relaxed/relaxed;
      d=gmail.com; s=20210112;
      h=cc:to:subject:message-id:date:from:in-reply-to:references
       :mime-version:from:to:cc:subject:date:message-id:reply-to;
      bh=gNAnMSi/CPpKhab7OXOPUt4RbHkLxo80ft/GCRw8Img=;
      b=KIBi4ZBnOxfLY0ybpxS4EDimlKJ7TngtOUetWZ55YCj+RDps0Q1HwR+VYgeYANGVBC
       j+z4EE/cme5aCgy4Oek+4T/j85SwsAdDbh/sXJygUJgz0PVsPB2t5CYWOenWMCAoax5z
       TfT8/mOj64GS9FiTeu80bYKnSWKzaxBAvuF2RDmI/T1g5oZjDSWKdbAZvi0v0aQ4irHN
       N8wInR9Bp3yDpCbIijOsG+R4MzSxRu8cW/ZZFbRNMTdSGeGvsS+YWURTQ5h4pmwIMx/4
       3MdFHeF0Zl7gVxesPVJpMrgVEdyuWjdZK60fgCSuPRYKCYdf+oVxiA4Fb+x9Oi+rFQAB
       PPeQ==
                                                                                                            EX 19
                                                                                                             1835
       Case 2:24-cv-07660-SPG-JPR          Document 16-2 Filed 09/09/24        Page 35 of 69 Page
                                                    ID #:2080
 X-Google-DKIM-Signature: v=1; a=rsa-sha256; c=relaxed/relaxed;
      d=1e100.net; s=20210112;
      h=cc:to:subject:message-id:date:from:in-reply-to:references
       :mime-version:x-gm-message-state:from:to:cc:subject:date:message-id
       :reply-to;
      bh=gNAnMSi/CPpKhab7OXOPUt4RbHkLxo80ft/GCRw8Img=;
      b=qfKUPf+LAUehsWI1xPWm5yHQUik0emyre9kMRUleMh1PAz1vPEIpDQT417W58T8e8+
       yVm2bwo3IZvch9YxS3CNBz/SMTu/u7FE8a5UtE/pI83fQZLjJKZDs5MbhMZh5gJ4Sden
       vB8EmmfwEliQIfQD29os8gnJ43sRw1+9VaAXESTaMAHEblDiDXcY6mP/BHYHTQEVoheA
      AFVztMLyDTnQbt2SPeQk0QDvEw1+1fQingYKUW62V46o5q/llvUA/gJfdS3UNMLupfA8
       wk382Ul+WkBwBo17ykBjHNqRlYnyO44fxC0nAQ2V3oY1lELC2QoxRC+lDG0Z4rroMZF/
       vSVg==
 X-Gm-Message-State: AO0yUKUYstlTgqsQscNjBERNYfqVUtsyBy6TUUMIU1nqYqLbh6MdfEwp
      huomz2WLuysAIo9q2RymsckBpPKl74I70jnNJAWz1419RSc=
 X-Google-Smtp-Source: AK7set8LfocWz8gTke/8BQCGEWGTGia9Kn+eIV7uhrmrXlWYh4KmJROguZVdlWWOZ
 Mgznetp0pnLm1Hx4vNm6RKT9FI=
 X-Received: by 2002:a25:8588:0:b0:a98:bd27:91de with SMTP id
  x8-20020a258588000000b00a98bd2791demr2335828ybk.7.1677621188041; Tue, 28 Feb
  2023 13:53:08 -0800 (PST)
 MIME-Version: 1.0
 References: <CAFau9f8B-SQSjJbd0SMUmA-eteH3HWwqjph4psgyL79n7be9pA@mail.gmail.com>
  <876D05AC-8AB0-4D24-8163-4E71579860A3@gmail.com> <CAGNEKMqPyM64J9qSH=pnr0Vcgv5Rq-
 XMesYuByEQmcz2i2rf5g@mail.gmail.com>
  <CADAKZXbdKxq-bC=YBukzSNAtN0HwMvCqY4M4-UDKSJYj6x91Vg@mail.gmail.com>
 In-Reply-To: <CADAKZXbdKxq-bC=YBukzSNAtN0HwMvCqY4M4-UDKSJYj6x91Vg@mail.gmail.com>
 From: Chris Walden <                 @gmail.com>
 Date: Tue, 28 Feb 2023 14:52:56 -0700
 Message-ID: <CAFau9f_tHKz+Mh9B=J2rdoW4v=jOS862WEuKqniJ+ByE18O1tQ@mail.gmail.com>
 Subject: Re: ZOOM CALL Harlo Henfrey, LLC / Chris Walden
 To: Raymond Villanueva <raymond@ascendecom.com>
 Cc: Michael Garcia <michael@ascendecom.com>, Sean Ashby                   @gmail.com>,
      Roland Aguilar <roland@ascendecom.com>, skye@ascendecom.com,
      Leadership <leadership@ascendecom.com>
 Content-Type: multipart/alternative; boundary="000000000000fb257805f5c99e40"

 ----- Message truncated -----


Roland Aguilar <roland@ascendecom.com>                                           Tue, Feb 28, 2023 at 2:57 PM
To: Chris Walden <           @gmail.com>

 Chris thank you as well . We will turn all this around for you in due time.
 [Quoted text hidden]




                                                                                            EX 19
                                                                                             1836
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 36 of 69 Page
                                  ID #:2081




                      Attachment N




                                                                      EX 19
                                                                       1837
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 37 of 69 Page
                                  ID #:2082




                                                                      EX 19
                                                                       1838
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 38 of 69 Page
                                  ID #:2083




                                                                      EX 19
                                                                       1839
        Case 2:24-cv-07660-SPG-JPR                 Document 16-2 Filed 09/09/24 Page 39 of 69 Page
 My inbox is pretty wild, so I most likely won't be able to ID #:2084
                                                            respond after this. My team will handle it from here. You guys are
 in good hands, just have to let these initial stages play out. We are seeing success across the board for established
 businesses.

 Thanks,

 Will

 II
 [Quoted text hidden]



 --
                   Will Basta
                   Co-Founder & CRO at Ascend Ecom


                        W www.ascendecom.com E will@ascendecom.com
                   A 2219 Main St. Santa Monica, CA



                   Calendar Coordinated by: Mia@ascendecom.com



Sean Ashby                @gmail.com>                                                             Fri, Sep 30, 2022 at 12:10 PM
To: Will Basta <will@ascendecom.com>
Cc: Raymond Villanueva <raymond@ascendecom.com>,                        @gmail.com

 Thank you for replying Will,

 Raymond please go ahead with pirate ship.

 I still think there might be a couple small issues that are unresolved with the previous products.

 Overall I would like to see more product moving through our store so however you guys (ascend) think is best is what we
 will do.

 Please confirm moving in that direction (Raymond).

 Thanks team,

 Sean

 Sent from my iPhone


         On Sep 30, 2022, at 11:35 AM, Will Basta <will@ascendecom.com> wrote:



         [Quoted text hidden]




Raymond Villanueva <raymond@ascendecom.com>                                                       Fri, Sep 30, 2022 at 12:44 PM
To: Sean Ashby              @gmail.com>
Cc: Will Basta <will@ascendecom.com>,       @gmail.com

 Hi Sean,

 Thank you for the update. We'll go ahead and get this set up for you so that we can get the FBM items available the
 soonest.

                                                                                                               EX 19
                                                                                                                1840
      Case 2:24-cv-07660-SPG-JPR               Document 16-2 Filed 09/09/24   Page 40 of 69 Page
Regards,                                            ID #:2085
                       Raymond Villanueva
                       Chief VIP Officer at Ascend Ecom


                       W www.ascendecom.com E support@ascendecom.com
                       A 2219 Main St. Santa Monica, CA




[Quoted text hidden]




                                                                                        EX 19
                                                                                         1841
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 41 of 69 Page
                                  ID #:2086




                      Attachment O




                                                                      EX 19
                                                                       1842
       Case 2:24-cv-07660-SPG-JPR                 Document 16-2 Filed 09/09/24                Page 42 of 69 Page
                                                       ID #:2087

                                                                                Chris Walden <                   @gmail.com>



Harlo Henfrey Store
16 messages

Sean Ashby              @gmail.com>                                               Mon, Mar 27, 2023 at 1:55 PM
To: "jeremy@ascendecom.com" <jeremy@ascendecom.com>, Will Basta <will@ascendecom.com>
Cc: Chris Walden             @gmail.com>

 Jeremy & Will,

 I hope you're having a nice start to the week.

 I was asking Will for some clarity as to what is going on with our store. Chris and I are on the LLC together and have
 collectively put in a little over $54k into this endeavor. We are not trending towards even seeing an ROI in 2 years, with
 the caveat that our private label is now being developed/shipped/getting ready to hit the market. We are still somewhat
 hopeful that we can see a profit from that but...

 We are having many invoicing issues and what is more stressful to us is that we are barely selling anything with the
 previous "high frequency reselling model".

 Can you help us out here? What is the way forward? How can we help?

 Thanks,

 Sean


Jeremy Leung <jeremy@ascendecom.com>                                                             Mon, Mar 27, 2023 at 2:33 PM
To: Sean Ashby <            @gmail.com>
Cc: Will Basta <will@ascendecom.com>, Chris Walden                      @gmail.com>

 Hi Sean

 Thank you for your e-mail.

 We are transitioning out of High Frequency reselling and moving back into FBA as we have just secured an exclusive
 relationship with a wholesaler that provides 30-35% ROI on grocery/fast moving consumable products.

 To get you moving forward would you be comfortable spending 20k+ on products that, through our research will sell out in
 about 45-60 days once they hit FBA warehouses?

 As a sign of our confidence, we can provide you with an inventory guarantee that if the products aren't sold within 3
 months of purchase, we will refund the amount of the unsold inventory.

 I've attached a sample invoice that we provide our clients that shows what products we sell and the expected ROI.

 let us know and we can get a purchase arranged before the end of the week.

 Regards

 Jeremy
 [Quoted text hidden]
 --




                                                                                                              EX 19
                                                                                                               1843
       Case 2:24-cv-07660-SPG-JPR                Document 16-2 Filed 09/09/24                  Page 43 of 69 Page
                         Jeremy Leung                 ID #:2088
                         Co-Founder & COO, Ascend Ecom


                            www ascendecom com      jeremy@ascendecom com
                            2219 Main St Santa Monica, CA




       Sample Invoice.pdf
       108K


Sean Ashby <              @gmail.com>                                                             Tue, Mar 28, 2023 at 4:54 PM
To: Jeremy Leung <jeremy@ascendecom.com>
Cc: Will Basta <will@ascendecom.com>, Chris Walden <                    @gmail.com>

 Jeremy,

 Thanks for the speedy reply.

 Unfortunately, we've been going back and forth since last June in regards to being overcharged roughly $1200 for both
 missing products and FBM charges. The billing department confirmed the mis-charge and has yet to refund us the money.
 Furthermore, some product was purchased and lost, admittedly by the warehouse team, and has yet to be refunded. I'm
 concerned that if we can't get refunded less than $2k, how can I be sure that you will be able to refund $20k+?

 If this is guaranteed I would like to see what kind of contractual language you have - on paper. Do you have anything
 contractually that you can commit to for this model?

 I need to make sure that at the end of this venture, Chris and I aren't sitting with $75k worth of losses and no profit to
 speak of. That is a major concern for me. We are already in this venture over $54k with no major movement on getting
 into the green to speak of...

 Thanks again for your help,

 Sean
 [Quoted text hidden]



Jeremy Leung <jeremy@ascendecom.com>                                                              Thu, Mar 30, 2023 at 9:58 AM
To: Sean Ashby <            @gmail.com>
Cc: Will Basta <will@ascendecom.com>, Chris Walden                      @gmail.com>

 Hi Sean

 I understand your predicament.

 We have some inventory at the warehouse that I will allocate $2k to your store to be sold via FBM.

 We have only offered the inventory buy back to 2 other clients in the past - You have our word in writing in this email that
 we will guarantee that next purchase of 20-30k of wholesale inventory. That is, if you purchase 20k of inventory, after 90
 days since it lands in Amazon, if ou have had 15k of sales, we will refund you the difference between the amount you paid
 and the amount you sold, which would be 5k in this example. We will even send you an invoice with what products we will
                                                                                                               EX 19
                                                                                                                1844
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 44 of 69 Page
                                  ID #:2089




                                                                      EX 19
                                                                       1845
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 45 of 69 Page
                                  ID #:2090




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                                                                       1846
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 46 of 69 Page
                                  ID #:2091




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                                                                       1847
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 47 of 69 Page
                                  ID #:2092




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Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 48 of 69 Page
                                  ID #:2093




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Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 49 of 69 Page
                                  ID #:2094




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Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 50 of 69 Page
                                  ID #:2095




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Case 2:24-cv-07660-SPG-JPR       Document 16-2 Filed 09/09/24         Page 51 of 69 Page
                                      ID #:2096




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Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 52 of 69 Page
                                  ID #:2097




                      Attachment P




                                                                      EX 19
                                                                       1853
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 53 of 69 Page
                                  ID #:2098




                                                                      EX 19
                                                                       1854
       Case 2:24-cv-07660-SPG-JPR                 Document 16-2 Filed 09/09/24          Page 54 of 69 Page
                                                       ID #:2099
 [Quoted te t hidden]



                                     2552467276614910165_2552465382313899281_InvoiceLogo_400x5.png
                                     4K



Billing Support (Support) <billing@ascendecom.com>                                        Wed, Sep 20, 2023 at 7:27 AM
Reply-To: Support <billing@ascendecom.com>
To: Harlo Henfrey               @gmail.com>
Cc: TopManagement <michael@ascendecom.com>, Chris Walden <                     @gmail.com>, Sean Ashby
              @gmail.com>

 Hi,


 Thank you for raising your concern. We'll have this looked into and get back to you the soonest.




 This email is a service from Ascend Ecom. Delivered by Zendesk

 [Quoted text hidden]
 [LDLNRM-0LDVW]


Billing Support (Support) <billing@ascendecom.com>                                       Mon, Sep 25, 2023 at 12:17 PM
Reply-To: Support <billing@ascendecom.com>
To: Harlo Henfrey <             @gmail.com>
Cc: TopManagement <michael@ascendecom.com>, Chris Walden                       @gmail.com>, Sean Ashby
<             @gmail.com>

 Hi,


 We've adjusted your invoices and marked them as paid. We will take note of the additional credit on your
 account.


 Thank you.


 This email is a service from Ascend Ecom. Delivered by Zendesk


 On September 20, 2023 at 2:27:11 PM UTC, Billing Support billing@ascendecom.com wrote:
   Hi,


   Thank you for raising your concern. We'll have this looked into and get back to you the soonest.




   This email is a service from Ascend Ecom. Delivered by Zendesk


   On September 19, 2023 at 12:49:34AM UTC, Harlo Henfrey               @gmail.com wrote:
    We have already paid this invoice in February 2023. Please review email string attached. We paid Ascend a net
    amount of $1,088.99 after you charged our credit card incorrectly.

                                                                                                       EX 19
                                                                                                        1855
       Case 2:24-cv-07660-SPG-JPR                Document 16-2 Filed 09/09/24 Page 55 of 69 Page
                                                         IDoriginally
       Now this new invoice is for even less than what you  #:2100charged us for by $249.14. Please add that to our
       outstanding credit due to us of $2,694.27 for a total FBM credit due to Harlo Henfrey of $2,943.41



       On Thu, Sep 14, 2023 at 11:26PM Ascend Ecommerce Inc. <invoice@hq.bill.com> wrote:
             Ascend Ecommerce Inc.


           Chris Walden and Sean Ashby, heres your invoice from Ascend Ecommerce Inc.


           Invoice: F1222RRA01_2D9J0F2
           Amount due: $839.85
           Due: 09/25/23


             Pay Invoice Electronically



           Thanks,
           Ascend Ecommerce Inc.


           Attached is a PDF copy for your records.

                                                               2023 Bill com, LLC
                                                ip-172-31-4-102.101.37 78d7cbf4 PTID0015-0 P02




   [LDLNRM-0LDVW] [LDLNRM-0LDVW]


Billing Support (Support) <billing@ascendecom.com>                                                 Tue, Sep 26, 2023 at 10:09 AM
Reply-To: Support <billing@ascendecom.com>
To: Harlo Henfrey <             @gmail.com>
Cc: TopManagement <michael@ascendecom.com>, Chris Walden <                                @gmail.com>, Sean Ashby
              @gmail.com>

 Hi,


 This is to advise that the amount of $249.14 was added to your FBM credit.


 Thank you


 This email is a service from Ascend Ecom. Delivered by Zendesk


 On September 25, 2023 at 7:17:22 PM UTC, Billing Support billing@ascendecom.com wrote:
   Hi,


   We've adjusted your invoices and marked them as paid. We will take note of the additional credit on your
   account.


                                                                                                               EX 19
                                                                                                                1856
     Case 2:24-cv-07660-SPG-JPR                  Document 16-2 Filed 09/09/24                     Page 56 of 69 Page
                                                      ID #:2101
   Thank you.


   This email is a service from Ascend Ecom. Delivered by Zendesk


   On September 20, 2023 at 2:27:11PM UTC, Billing Support billing@ascendecom.com wrote:
     Hi,


     Thank you for raising your concern. We'll have this looked into and get back to you the soonest.




     This email is a service from Ascend Ecom. Delivered by Zendesk


     On September 19, 2023 at 12:49:34AM UTC, Harlo Henfrey               @gmail.com wrote:
      We have already paid this invoice in February 2023. Please review email string attached. We paid Ascend a net
      amount of $1,088.99 after you charged our credit card incorrectly.

       Now this new invoice is for even less than what you originally charged us for by $249.14. Please add that to our
       outstanding credit due to us of $2,694.27 for a total FBM credit due to Harlo Henfrey of $2,943.41



       On Thu, Sep 14, 2023 at 11:26PM Ascend Ecommerce Inc. <invoice@hq.bill.com> wrote:
               Ascend Ecommerce Inc.


             Chris Walden and Sean Ashby, heres your invoice from Ascend Ecommerce Inc.


             Invoice: F1222RRA01_2D9J0F2
             Amount due: $839.85
             Due: 09/25/23


              Pay Invoice Electronically



             Thanks,
             Ascend Ecommerce Inc.


             Attached is a PDF copy for your records.

                                                                2023 Bill.com, LLC
                                                 ip-172-31-4-102.101.37 78d7cbf4 PTID0015-0 P02




     [LDLNRM-0LDVW] [LDLNRM-0LDVW]
   [LDLNRM-0LDVW]


Harlo Henfrey              @gmail.com>                                                             Tue, Sep 26, 2023 at 10:12 AM
To: Support <billing@ascendecom.com>
                                                                                                               EX 19
                                                                                                                1857
      Case 2:24-cv-07660-SPG-JPR        Document 16-2 Filed 09/09/24 Page 57 of 69 Page
                                               IDWalden
Cc: TopManagement <michael@ascendecom.com>, Chris #:2102        @gmail.com>, Sean Ashby
                @gmail.com>

 Thank you. Please confirm total credit amount owed to our account?
 [Quoted text hidden]



Harlo Henfrey            @gmail.com>                                  Wed, Oct 4, 2023 at 10:49 AM
To: tatiana@ascendecom.com

 [Quoted text hidden]




                                                                                 EX 19
                                                                                  1858
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 58 of 69 Page
                                  ID #:2103




                      Attachment Q




                                                                      EX 19
                                                                       1859
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 59 of 69 Page
                                  ID #:2104




                                                                      EX 19
                                                                       1860
     Case 2:24-cv-07660-SPG-JPR            Document 16-2 Filed 09/09/24             Page 60 of 69 Page
                                                ID #:2105
Email:             @gmail.com



RE: Ascend CapVentures Inc. | Chris Walden and Sean Ashby / Harlo Henfrey



Invoice No./s



O0723AMA01_2D9J0F2
O0623RRA01_2D9J0F2
O0523RRA01_2D9J0F2




Amount Due: $50.00




            IN ACCORDANCE WITH THE FAIR DEBT COLLECTION PRACTICES ACT (15 U.S.C. §
1692e(11), THIS IS AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION OBTAINED WILL BE
USED FOR THAT PURPOSE. THIS COMMUNICATION IS FROM A DEBT COLLECTOR.



To Whom It May Concern:



This communication is from Ascend CapVentures Inc., a Wyoming company which in this capacity is acting as
a debt collector and is attempting to collect a debt. Under the laws of the State of Wyoming and pursuant to
federal law, we are required to inform you that this is an official notice regarding the status of your account(s)
with us.



As per our records, we have not received payment for the aforementioned invoice(s) (see subject line above),
which were due more than 4 months ago. This delay in payment has been noted as a SEVERE DELINQUENCY.



In compliance with Wyoming Statutes Title 33 - Professions and Occupations, Chapter 11 - Collection Agencies
(Wyo. Stat. § 33-11-101 through 33-11-113), and the Fair Debt Collection Practices Act (FDCPA), 15 U.S.C. §§
1692-1692p, we are obligated to inform you that failure to address this outstanding debt within five (5) days of
the date of this notice will result in the initiation of collections proceedings.

                                                        2
                                                                                                  EX 19
                                                                                                   1861
     Case 2:24-cv-07660-SPG-JPR            Document 16-2 Filed 09/09/24            Page 61 of 69 Page
                                                ID #:2106


Please understand that nonpayment will further compel us to take actions including, but not limited to:

1)   Sending your account to collections; and,

2)  Immediately ceasing any efforts or activities related to the contractual agreement between you and Ascend
CapVentures Inc., as we will consider you in material breach of these agreements.



Please make your payment to the order of Ascend CapVentures Inc. via wire/ach using the following bank
details and ensure that it reaches us within five (5) days of receipt of this correspondence.



• Bank Name: Truist Bank
• Account Name: Ascend Capventures Inc.
• Account Number: 1100027753610
• Routing Number: 263191387
• Address: 1309 Coffeen Avenue, Sheridan, WY 82801



If you have already made this payment, please disregard this notice. However, if you have any questions or need
to discuss your account, please contact us at this email address.



Sincerely,

Invoicing & Collections Department



Please be advised that nothing contained herein is intended to nor shall it waive, compromise, or
prejudice any rights, remedies, claims, or defenses that Ascend CapVentures Inc. may have now or in
the future regarding any matters not specifically addressed in this correspondence.




                                                       3
                                                                                                 EX 19
                                                                                                  1862
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 62 of 69 Page
                                  ID #:2107




                      Attachment R




                                                                      EX 19
                                                                       1863
           Case
6/14/24, 2:43 PM 2:24-cv-07660-SPG-JPR       Document
                                    Gmail - Important Notice:16-2     Filed 09/09/24
                                                             Account Delinquency and Temporary Page    63 of 69
                                                                                               Service Pause          Page
                                                              ID #:2108

                                                                                       Harlo Henfrey                 @gmail.com>



   Important Notice: Account Delinquency and Temporary Service Pause
   11 messages

   Ascend Collections <collections@ascendecom.com>                                                     Sun, Apr 7, 2024 at 11:56 AM
   To: collections@ascendecom.com
   Bcc:             @gmail.com

     We hope this message finds you well.

     We regret to inform you that due to the delinquency of your account, we have taken the necessary steps to temporarily
     deactivate your access to Slack and pause operations at your store.

     To ensure continuity in communication and resolve any outstanding matters, we kindly ask you to direct all future
     communications to our Collections Department at collections@ascendecom.com. Our dedicated team will be available to
     assist you and address any concerns you may have regarding your account.

     Additionally, if you require immediate assistance or have any questions, please do not hesitate to reach out to our
     customer service line at 469-529-5774. Our representatives will be more than happy to provide further assistance and
     support.

     We understand the importance of resolving this matter promptly and appreciate your cooperation in this regard. Rest
     assured, we are committed to working with you to reach a resolution and resume regular operations as soon as possible.

     Thank you for your attention to this matter, and we look forward to resolving this situation together.

     Best Wishes,
     Ascend Leadership


   Harlo Henfrey <              @gmail.com>                                                             Mon, Apr 8, 2024 at 8:50 AM
   To: Ascend Collections <collections@ascendecom.com>

     Our 2 year contract expires today and we have already provided notice that we will not renew. At this point, we are going
     to initiate the buyback request per our contract as our store is severely underperforming. Who do I direct this to?
     [Quoted text hidden]



   Ascend Collections <collections@ascendecom.com>                                                     Wed, Apr 10, 2024 at 7:08 AM
   To: Harlo Henfrey             @gmail.com>

     Our records indicate that your account is currently past due and has been placed in collections. As a
     result, your account is now under the jurisdiction of our Collections and Compliance Department. Until the
     outstanding balance is settled in full, we are unable to facilitate any discussions or provide additional
     services related to your account.

     Please understand that our company policy requires all accounts to remain current to maintain an active
     status and receive ongoing support. We kindly request that you prioritize the resolution of the overdue
     amount to bring your account back into good standing.

     Once your account is current, we will be pleased to address any further concerns or requests you may
     have. We value our relationship with you and look forward to resolving this matter promptly.
     [Quoted te t hidden]



   Harlo Henfrey <              @gmail.com>                                                            Wed, Apr 10, 2024 at 7:38 AM
   To: Ascend Collections <collections@ascendecom.com>


https://mail.google.com/mail/
                                                                                                                  EX 19
                                                                                                                   1864
           Case
6/14/24, 2:43 PM 2:24-cv-07660-SPG-JPR       Document
                                    Gmail - Important Notice:16-2     Filed 09/09/24
                                                             Account Delinquency and Temporary Page    64 of 69
                                                                                               Service Pause        Page
                                                              ID #:2109
     Call me to discuss. I am not chatting with your virtual assistant.
     [Quoted te t hidden]



   Ascend Collections <collections@ascendecom.com>                                                 Tue, Apr 16, 2024 at 11:02 PM
   To: Harlo Henfrey <           @gmail.com>

     Our records indicate that your account is currently past due and has been placed in collections. As a
     result, your account is now under the jurisdiction of our Collections and Compliance Department. Until the
     outstanding balance is settled in full, we are unable to facilitate any discussions or provide additional
     services related to your account.

     Please understand that our company policy requires all accounts to remain current to maintain an active
     status and receive ongoing support. We kindly request that you prioritize the resolution of the overdue
     amount to bring your account back into good standing.

     Once your account is current, we will be pleased to address any further concerns or requests you may
     have. We value our relationship with you and look forward to resolving this matter promptly.

     [Quoted te t hidden]



   Harlo Henfrey                @gmail.com>                                                         Wed, Apr 17, 2024 at 6:03 AM
   To: Ascend Collections <collections@ascendecom.com>

     We are due the courtesy of a phone call to discuss this situation rather than sending a blanket email.

     The fact of the matter is we have already sent you $54,000 in April 2022. We have made $0 and have actually lost more
     money. So why don’t we just net what you say we owe you with our buyback option.



     -Chris Walden
     [Quoted te t hidden]



   Ascend Collections <collections@ascendecom.com>                                                   Thu, Apr 18, 2024 at 4:17 AM
   To: Harlo Henfrey             @gmail.com>

     Our records indicate that your account is currently past due and has been placed in collections. As a
     result, your account is now under the jurisdiction of our Collections and Compliance Department. Until the
     outstanding balance is settled in full, we are unable to facilitate any discussions or provide additional
     services related to your account.

     Please understand that our company policy requires all accounts to remain current to maintain an active
     status and receive ongoing support. We kindly request that you prioritize the resolution of the overdue
     amount to bring your account back into good standing.

     Once your account is current, we will be pleased to address any further concerns or requests you may
     have. We value our relationship with you and look forward to resolving this matter promptly.

     [Quoted te t hidden]



   Harlo Henfrey <              @gmail.com>                                                          Thu, Apr 18, 2024 at 5:32 AM
   To: Ascend Collections <collections@ascendecom.com>

     I will discuss via telephone

     -Chris Walden
     [Quoted text hidden]

https://mail.google.com/mail/u/
                                                                                                                EX 19
                                                                                                                 1865
           Case
6/14/24, 2:43 PM 2:24-cv-07660-SPG-JPR       Document
                                    Gmail - Important Notice:16-2     Filed 09/09/24
                                                             Account Delinquency and Temporary Page    65 of 69
                                                                                               Service Pause         Page
                                                              ID #:2110
  Harlo Henfrey <              @gmail.com>                                                          Mon, Apr 22, 2024 at 3:35 PM
  To: Ascend Collections <collections@ascendecom.com>

     How are we supposed to communicate if you only send a canned response?

     -Chris Walden


              On Apr 18, 2024, at 5:32 AM, Harlo Henfrey <              @gmail.com> wrote:


              I will discuss via telephone
              [Quoted text hidden]




  Ascend Collections <collections@ascendecom.com>                                                     Fri, Apr 26, 2024 at 7:58 AM
  To: Harlo Henfrey             @gmail.com>

     Hi Harlo,

     If you have any questions regarding the invoices that your account is in collections for please email us with your questions
     and concerns and we will do our best to help you.

     Due to the nature of the situation, we will have to limit our communication to email only.

     Thank you
     [Quoted te t hidden]



  Harlo Henfrey                @gmail.com>                                                            Fri, Apr 26, 2024 at 9:15 AM
  To: Ascend Collections <collections@ascendecom.com>

     Due to the nature of our situation a phone call would be much more efficient and effective.

     The fact of the matter is we have paid ascend $54,000 to start an Amazon store. That store has now cost us an additional
     $10,000 due to your mismanagement. I am very hesitant to send Ascend another dollar.

     So the best way to get these invoices cleared is to call me and let’s have a discussion like adults and business owners. I
     have tried calling your virtual assistant. I have tried requesting a phone call back.

     Before going the lawsuit route, let’s settle this here and now.

     -Chris Walden


              On Apr 26, 2024, at 7:59 AM, Ascend Collections <collections@ascendecom.com> wrote:



              [Quoted text hidden]




https://mail.google.com/
                                                                                                                 EX 19
                                                                                                                  1866
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 66 of 69 Page
                                  ID #:2111




                      Attachment 6




                                                                      EX 19
                                                                       1867
     Case 2:24-cv-07660-SPG-JPR             Document 16-2 Filed 09/09/24   Page 67 of 69 Page
                                                 ID #:2112

Brou, Deirdre

From:               Harlo Henfrey              @gmail.com>
Sent:               Tuesday, May 7, 2024 12:32 PM
To:                 Sean Ashby
Subject:            Fwd: Ascend Collections




Sent from my iPhone

Begin forwarded message:

       From: Ascend Collections <collections@ascendecom.com>
       Date: May 7, 2024 at 10:15:14ථAM CDT
       To: Harlo Henfrey <             @gmail.com>
       Subject: Ascend Collections




               Ascend CapVentures Inc.

       Invoicing & Collections Department

       e. legal@ascendcapventures.com.
       w. www.ascendcapventures.com




       05/07/2024

       VIA ELECTRONIC MAIL



       Harlo Henfrey LLC

       c/o Chris Walden and Sean Ashby

       Email               @gmail.com



                                                      1
                                                                                     EX 19
                                                                                      1868
Case 2:24-cv-07660-SPG-JPR          Document 16-2 Filed 09/09/24 Page 68 of 69 Page
                                          ID #:2113
 RE: Ascend CapVentures Inc. | Chris Walden and Sean Ashby / Harlo Henfrey LLC




 Invoice No./s



 P1223NBW02_3D3XC3X
 P1223NBW02_3MZUCPG
 P1223NBW02_2GP93TH
 P1223NBW02_2E09N0W




 Amount Due:$ 1,354.24




             IN ACCORDANCE WITH THE FAIR DEBT COLLECTION PRACTICES ACT (15
 U.S.C. § 1692e(11), THIS IS AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION
 OBTAINED WILL BE USED FOR THAT PURPOSE. THIS COMMUNICATION IS FROM A
 DEBT COLLECTOR.



 To Whom It May Concern:



 This communication is from Ascend CapVentures Inc., a Wyoming company which in this capacity
 is acting as a debt collector and is attempting to collect a debt. Under the laws of the State of
 Wyoming and pursuant to federal law, we are required to inform you that this is an official notice
 regarding the status of your account(s) with us.



 As per our records, we have not received payment for the aforementioned invoice(s) (see subject
 line above), which were due more than 3 months ago. This delay in payment has been noted as
 a SEVERE DELINQUENCY.



 In compliance with Wyoming Statutes Title 33 - Professions and Occupations, Chapter 11 -
 Collection Agencies (Wyo. Stat. § 33-11-101 through 33-11-113), and the Fair Debt Collection
 Practices Act (FDCPA), 15 U.S.C. §§ 1692-1692p, we are obligated to inform you that failure to
 address this outstanding debt within five (5) days of the date of this notice will result in the initiation
 of collections proceedings.



 Please understand that nonpayment will further compel us to take actions including, but not limited
 to:
                                                     2
                                                                                                   EX 19
                                                                                                    1869
Case 2:24-cv-07660-SPG-JPR   Document 16-2 Filed 09/09/24   Page 69 of 69 Page
                                  ID #:2114




                                                                      EX 19
                                                                       1870
